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   EXHIBIT G
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Mason, Dawn


From: Mason, Dawn
Sent: Thursday, September 19, 2019 9:22 AM
To: Sussman, Howard
Cc: Long, Anne Marie
Subject; RE: FW:B^^B|^N Medical Exemption submission packet


DearDr.Sussman,
I shared this information with the parent. She Is not happy and asked me to relay this questions: "Why is a precaution is
not an appropriate basis for a medical exemption when It is indicated and documented by two physician as potentially
harmful to my child?"
She does not want me to defer this to DOH before knowing the reason,
Thank you/



Down

From: Sussman, Howard <hsussman@3villagecsd.kl2.ny.us>
Sent: Wednesday, September 18,2019 4:17 PM
To: Mason, Dawn <dmason@>3villagecsd. kl2.ny.us>
Cc: Long, Anne Marie <along2@3villagecsd.kl2.ny.us>
Subject: Re: FW:^^^^^^BMedicaI Exemption submission packet

My determination was/is that this request for Medical Exemption from MenACWY is NOT ACCEPTABLE, It
does not document a valid medical coxriraindication as annotated by the CDC.

Please refer the inquiry to the DOH. I welcome the definitive opinion of the DOH.

As you know, students shall not be excluded while the appeal to the DOH is ongoing.

Thank you.


Sincerely yours,
HRS

Dr. Howard R Sussman
District Medical Director

On Sep 18, 2019 1:43 PM, "Mason, Dawn" <dmason(a).3villaeecsd.kl2.nv.us> wrote:
DearDr.Sussman,
I received this packet today requesting a medical exemption for^^^^BThis contains more information than was
submitted previously.
The parent has submitted three documents for review; Medical Exemption form signed by Dr. Bennett, a statement by
Dr. Bennett, a statement from Dr, O'Hara.
The parent spoke with NYS DOH yesterday; and has included a follow-up email she received from them. The parent has
asked that you let her know if more documentation is required.
Thank you,
Dawn
             Case 1:20-cv-00840-BKS-CFH Document 63-7 Filed 09/04/20 Page 3 of 9




From;^^^B®ootonline.net ^^^B'"n|ilniiline.net>
Sent; Wednesday, September IS, 2019 12:56 PM
To: Pedisich, Cheryl <chervlo@)3\/jltaBecsd.kl2.nv.us>; Mason, Dawn <dmason(5)3vlllaRecsd.kl2,nv,us>
Subject:^^^^^^^B^edical Exemption submission packet




Dear Superintendent Pediisich and Executive Director Mason,


Attached please the following documentation as it pertains to a medical exemption for my daughter, ^^^B1 am bringing a
hard copy over to the district office now.
I am hopeful that this information will satisfy the District's strict criteria for issuance of the medical exemption, as — is
under current treatment. If it doesn't, I request that prior to any denial being issued by the school, that the district's physician
comply with the protocol indicated in the attached email communication from the Department of Health. It states that
the "school may request additional documentation from the parent/guardian. If needed, the school may forward the medical
exemption request to the New York State Department of Health, Bureau of Immunization...for further review and a
recommendation to assist the school with determining whether to accept or deny the exemption requested. The school makes
the final decision," Therefore, I do not want to appeal a denial to the DOH, rather, I request that the district's physician ask the
DOH for guidance and/or clarification before denying, if he is so inclined. .

The documents attached in 3 files are;


Pile 1; Completed form DOH-5077 and accompanying letter of support signed by Laura Bennett, M.D.,(^^Blon§tlme
pediatrician) dated 9/17/19 and
       diagnosis letter from her out of state treating specialist. Nancy Ohara,M.D. dated 8/6/19, both indicating a vaccine
precaution; •
Pile 2: Printout fro the CDC Vaccine Recommendations and Guidelines of the ACIP which clarify the use of "a precaution" as
a means to delay immunization;
        Printout from the ACIP specifically for the MenACWY vaccine which lists "Moderate or severe acute illness with or
without fever" as a precaution and
        Email correspondence from the NYS Department of Health clarifying the role of the DOH in a school's determination of
ME validity,
File 3: Personal statement by ^^^^^^Bient to Superintendent Pedisich indicating^^^Bneed for the Medical Exemption
to maintain her medical and emotional
       health.



I do hope that all of this information is carefully considered and a favorable decision is made, In the event that any questions
arise regarding the information submitted, kindly contact me, I will make every reasonable effort to provide necessary
documentation-to insure^^^Bwellbeing and ability to continue in school,


)
Sincerely,

                )arent of.
Case 1:20-cv-00840-BKS-CFH Document 63-7 Filed 09/04/20 Page 4 of 9




        From: doh.sm.lmmunjze immunize@health.ny.gov
    Subject: Information regarding Medical
                    Exemptions process
         Date: Sep 16, 2019 at 5:10:10 PM
             To: ^^^^^optonline.net
    Hellol

    This is a follow up to our phone conversation today regarding medical exemptions,

    A valid medical exemption must;
    1. Be on a sample medical exemption form issued the Department bltRS.'/Av^v.lie.iltJi^'^oy/forms/
        doh-5p77,pdr or the NYC Department of Health and Mental Hygiene, or on a signed statement
        that certified thattiie immunization may be detrimental to a chUd's health;
    2. Be signed by a. physician licensed to practice medicine in New York State;
    3. Contain sufficient information to idendfy the medical contraindicaticm to a specific
        immunization. The Department recommends dial. physicians consult the ACIP guidelines for
        contraindicalions and precautions to childhood vaccinations, available at bttps://www.c.do.gpv/
        vacctncs/licp/ftcip-rccs/gcticni1-recs/contrahiriicati<ins;lihnl (Please note that Uie guidelines
        contain all ACIP recommended vaccinss, including some that are not currently required for
        schools and child day care programs in New York State; and
    4. Be confirmed aonually,


    Medical exemption requests are submitted to the child's school, Children are permitted to stay in
    school while the medical exemption request is under review. The length of time to complete the
    review of the request depends on the level of information provided. TJie principal or person in charge
    of the school (or designer) reviews the exetnption request to detennine if it meets Public Health Law
    (PHL) Section 2164 and accepts or denies the exemption based on whether the exemption statement
    raeei$the requirements ofPHL 2164. The school may request additional documentation for the
    parent/guardian. If needed, the school may forward the medical exemption request lo the New York
    State Department of Health, Bureau of Immunization or the NYC Department ofHealtli and Mental
    Hygiene for further review and a recommendation to assist the school with determining whether to
    accept or deny the exemption requested. The school makes the final decision.



    Bureau of Immunization
    New York State Department of Health
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                                                                     administered in an (npatlent or dutpatient medical
                                                                     setting and under the supervision of a health care
                                                                     provider who is able to recognize and manage
                                                                     severe altergicco.ndltfons).



IPV (44) Severe.ajlergi.c reacUo.n (e,g,,                            Pregnancy , .
                             anaphylaxis) after a previous dose                      ' !


                         , or to a vaccine comppnent                 Moderate or severe acute illness with or without
                                                                     fever . „


                    .1   p;,:   ~   ,v'   .    r   ••   '   •   •'


LAIY"" - - (43) ,. > • ;5pvere alffirglc.reactlon <e.g.,             GBS <6 weeks after a previous dose of inf)uen2a
                             anaphy.laxls) a.fter a vaccine          vaccine
                             pornpone.nt.i, ,
                                                                     Asthma in persons aged S years old or older
                             Concomitant'use of aspirin or
                          i asptrln-containing medtcatjon In
                                                                     Medical condffitons which might predispose to higher
                          ' children'and adolescents
                                                                     risk of complications attributable to InfluenzaW

                             LAW should not be administered
                             to persons who have taken               Moderate of severe acute illness with or without
                i ; influenza antivira! medications                  fever

                             within the previous 48 'hours.

                             Pregnancy
                *   >    1   '..'   ->    -'   ^



MenACWY [4S] Severe allerglc reaction (e,g.,                         Moderate or severe ac.ute illness with or without
                             anaphylaxis) after a previous dose      fever.
                         : or to a vaccine component


MenB . (46, 47) : Severe allergic reaction (e.g.,                    Mocierace or severe acu.te illness with or without
                             anaphylaxis) after a preytous dose      fever
                             or to a vaccine component


MMR111""' (7j Severe allergic reaction (e.g,,                        Recent (^11 months) receipt ofantibody-contsinlng
                             apaphylaxis) after.a previous dose      blood prpd,uct{speafic interval depends on prodyct)
                             or to a vaccine component               History of thrombqcytopenla or thrombocytopenic
                             Pregnancy                               purpuraNeed fortuberculln skin testing or
                                                                     Interferon-gamwa release assay (IGRA) testlnglh>
                             Known severe immunodefldency
                             (e,g., from h.ematologic and solid      Moderate or severe acute illness with or without
                             tumors, receipt ofch.erpo.therapy,      fever
                             congenital immunodeflciency, long-
                             term. immunosuppressive therapy^
                             or patients with HIV infection who
                             are severely
                             Immunoconnpromised).
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              Centers for Disease Control arid prevention
             . COC 24/7: Saving Uvot. Piohlctlng Pcopla™



   Vaccine Recommendations and Guidelines of the ACIP

 Contraindications and Precautions
 General Best Practice Guidelines for Immunization: Best Practices Guidance of the Advisory
 Committee onJmmunization Prac.tices.(ACIP)
 Printer friendly version IS [18 pages']


 Updates
 Major changes to the best practice guidance in this section Include 1) enhancement of the definition of a "precaution" to
 Include any condition that might confuse diagnostic accuracy and 2) recommendation tovaccinate during a
 hospltaltzatfon if a patient Is not acutely moderately or severely 111.



 General'Principles
 Contratndlcatfons (conditions In e redplem that tecreases the -'risk for a serious adverse reaction) and precautl.ons to
 vaccination are conditlo'ris Under.which vacctnes should noibe administere'd. Because the majority of contraindlcations
 and precautions are temporary, vaccinations often can be administered later when the condition leading to a
 contralndlcation or precaution no longer exists. A vaccine should not fee administered when a contralndicatlon is present;
 for example, MMR.vaccine should not bs administered to severely Immunoeompromlsed persons (7). However, certain
 conditions are commonly misperceivad as contralndlcatlons (l.e., are not valid reasons to d.efer vaccination), :. •


 National standards for pediatric vaccination practices have been established and include descriptions of valid
 contralndicattons and precautions to vaccination (.2). Persons who administervacclnesshould:screen patienefor
 contralndlcatlons.and precautions to the Vaccine :before each dose of vaccine is administered (Table 4-11. Screening Is.
 facilitated by consistent use of screening questionnaires, which are available from certain state vaccination programs and
 other sources (e.g., the Immunisation Action Coalition [3).


 Severely iminunocoriipromised'p'ersons generally should not receive live vaccines'(3). Because of'the theoretical risk:to
 the fetus, women known Co be pregnant generally should not receive live, attenuated virus vaccines (4). Persons who •
 experienced encephatopathy within 7 days after administration of a previous dose of pertussls-containing vaccine not
 attributable to another identifiable cause should not receive additional doses of a vaccine that contains pertussls (4, 55..
 Severe Combined Immunodeficiency (SCID) disease and a history of Intussusception are both contraindlcatlons to the
 receipt of rotavirus vaccines (6).


 A precaution Is a condition in a recipient that might increase the risk for a serious adverse reaction, might cause
 diagnostic confusion, orimtght compromise the ability of the vaccine to produce immunity (e.g., administering measles
 vaccine to a per5on with passive Immunity to measles from a blood transfusion administered up to 7 months prior) (^. A
 person might experienc.e a more severe reartlpn to the vaccine than would have otherwise been expected; however, the
 risk for this happening is less than the risk expected with a contraindication. In general, vaccinations should be deferred
 when a precaution is present. However, a vaccination might be Indicated in the presence of a precaution if the benefit of
 protection from the vaccine outweighs the risk for an adverse reaction.
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                                                                 Immunization Requirements for School Attendance
NEW YORC STATE DEPARTMENT OF HEALTH
Bureau ofImmunization/Diuision of Epldemiology                   Medical Exemption Statement for Children 0-18 Years of Age

NOTE; THIS EXEMPTION FORM APPUES ONLY TO IMMUNIZATIONS REQUIRED FOR SCHOOLATTENDANCE

Instructions!
  1. Complete information (name, DOB etc.).
  2. Indicate which vacdnejs) the medical exemption is referring to.
  3. Complete contraindication/precaution information.
  4. Complete date exemplfon ends, if applicable.
  5. Complele medical provider information, Retain copy forfile, Return original to facility or person requesting form.



  1. Patient's Name

  2. Patient's Date of Birth

  3, Patient's Address

  4. Name of Educational InstituHon QeClnQS A.^Ky-l"^V<SCOO\ -~T'VC&'0


Guidance for medical exemptions for vaccination can be obtained from (he contraindications, indications, and precautions de$cribed in the vaccine
manufacturers' packagelnsert and by the most recent recommendations of the Advisory Committee on Immunization Praclices (ACIP) available
in the Centers for Disease Control and Prevention publication, Guide to Vaccine Contraindlcations and Precautions. This guide can be found atthe
following websfte;http;//wwvu,cdc,gov/vacc)nes/recs/vac-admin/contrainiiications,htm.

  Please indicate which vaccine(s) the medicat exemptwn is referring to;

            Haemophilus Influenzas type b (Hib)                          Measles, Mumps, and Rubella (MMR)

            Polio (IPV or OPV)                                           Varicella iChickenpox)

            Hepatitis B (Hep Bj 1^'"1                                    Pneumococcal Conjugate Vaccine (PCV)

      d Tatanus; Diphlheria> Periussis (DTaP, DTP. ^dy                   Meningococcal Vaccine (MenACWY)



Please describe the patient's contraindicationjsl/precautlonfs) here: ^(Wy\'\^ \ ^f)if^ L^V/lf ^O.r'-^QYve. \\C\
 Gnci \c\^ Wvwou^ ^.nGr'phC(\\V)^./?C>T5ff0^5dL^On^i<^.'%nri/nAr' hoa
ftSKv^ C(rin\VTi'\?<^r>-\J\r'/p- of •\Y^nap+(G £.M?rtij3i.'\i-(, •f&^A") -\Se, c\<o(>w^.

Data exemption ends (IF applicable)

      Rc^cc^ ^enr ^^\€yY\\Q^T ^OiQ - <V.'o& 303^


A New York State licensed physician must complete this medical exemption statement and provide their information below;

Name (prinl) ^OU/Q\ '^f,nyY&AJr rhp _ NYS Medical Licensa ft !'^°tc?3(

Address 'SCiOI TS<'pr€SW'>JO^ •T>/i^.. ^^'(•Y-^^^ ?( 7-l-te. 100

      l5\Qr^i<\ Mvl \^W                                                                                        G?3?^)~7~^

Signature
          \f\

            ^
ForlrutituttgnU sa^NLYi Medical Exemption Status D Accepted D NotAccepted Date:

DOH-S077 IS/16)
Case 1:20-cv-00840-BKS-CFH Document 63-7 Filed 09/04/20 Page 8 of 9




     ^^ Northwell
     W? Health"
               wmnFT^/nrTma




  Name:                                                                                            Date of Visit; Sep 17 2019
  Address:                                                                                         MRN: 11144340
                                                                                                   DOB:^^BOOS




     Soptem'bef 17,2019


    To Whom It May Concern;

     In regarda to|              1, and In accordance with GDC guldelinas mtdteal cxtmpllon for vaca'ne;

     "May be dBlrtmenlal lo dillffs hcallh meBns Ihat a physician hsi delarmlned Ihat n child has a medical coniralndtealtotl or prscaullan lo
    a tpnciHo Immunitation condEfonlw.llh ACIP guidnncc or oUw nallonal fecognlzed evldtncfi bsstd standard of Wire.' S^cl S6.1,1
    8/16/2019 The medical conlrBlndtesUona afe her ongotng Irtalment for auloimmuna cneephBlillSi POTS/Dyaaulonomtn and
    Oironte/SBVom Lyma and Bartanaila diccsae. Her brolhar siiffacd from Iho sBino medleil condlllon and attfnlnlatrttllBn of MenBctrB
    gave way to his p$ychiBtric Issues Ihol eventually lend la his dealh.

    Ai par my previout communication, and Or O'Hara's [nfofmaBon, I rBCommend Ihal she ba wrempl from the Menadra vaccinB,

     Do not hesitate to contact me If you have any queiUons,

     Slnwrel




        Louro BonnoU MD                                                                         Nunhlwll Oclicrul I'(i)ialfic< al hfundiu
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 Case 1:20-cv-00840-BKS-CFH Document 63-7 Filed 09/04/20 Page 9 of 9




                                                                                                             Nancy H, O'Hara S Assodales, LLC
                                                                                                                               3HollyhocKLan6
                                                                                                                          VWlon.CT 06 897-4443
                                                                                                                            Tel; (203) 834-2813
                                                                                                                            Fax: (203) 83+-259D

           wAw.drohara.com




DATC: 08/06/2019




FROM;- Namy O'Hara
Number of Page*; 1

             lisa patiapt of mlna with .chfontc and ttvera Lyme, BartpnBlla and auiolmmunB wcephalilit. As a rosult, ahe also has
POTs/Dysflutonmla, all of which Increaso eymptoms ofanxtetyiCpgnttiVBand procosslng detayt. Sho has been an antibiotics and multiple
InteivenUont to treat the abovs, Any furthBrvirw 01 other Insults can exacoibato hw aiitotmmunB disoaso and symptom's. Plea«B conlact our
office wd th quea'rtons,


MESSAGE:



                                                                                                Signed:
                                                                                                                    ^^^
